Case 1:22-cv-03410-AMD-CLP Document 31 Filed 10/19/23 Page 1 of 8 PageID #: 123




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------X
 BARRY FITZGERALD,

                                      Plaintiff,

                          -against-                                                  ORDER
                                                                             22 CV 3410 (AMD) (CLP)
 SODEXO INC. and NY PRESBYTERIAN
 QUEENS,

                                    Defendants.
 ----------------------------------------------------------X
 POLLAK, United States Magistrate Judge:

          On July 26, 2023, this Court entered an Order 1 instructing plaintiff Barry Fitzgerald to

 respond to defendants Sodexo Inc.’s and NY Presbyterian Queens’ interrogatories by August 31,

 2023. (ECF No. 29). That Order also admonished plaintiff that “[f]ailure to provide responses

 to defendants’ interrogatories could result in this Court making a recommendation to dismiss this

 matter for plaintiff’s failure to prosecute,” and ordered defendants to file a status report by

 October 6, 2023. (Id.)

          On October 6, 2023, defendants filed a status report 2 indicating that plaintiff failed to

 provide defendants with his interrogatory responses by August 31, 2023. (ECF No. 30 at 1).

 Plaintiff purportedly provided defendants with a signed copy of the verification page that was

 included with defendants’ interrogatories, but not responses to the interrogatories themselves.

 (Id.) Defendants further note that plaintiff has not provided responses to “most of the requests in

 Defendants’ First Request for Production of Documents,” and that as a result of these failures,

 the parties have been unable to schedule depositions as they were Ordered to do. (Id. at 2).




          1
              A copy of this Court’s July 26th Order is attached hereto as Appendix A.
          2
              A copy of defendants’ October 6th letter is attached hereto as Appendix B.

                                                            1
Case 1:22-cv-03410-AMD-CLP Document 31 Filed 10/19/23 Page 2 of 8 PageID #: 124




 Plaintiff also has not been responsive to defendant’s inquiries. Defendants represent that they

 attempted to contact plaintiff on September 1, 2023, to no avail. (Id.)

        In light of the above, the parties are hereby ORDERED to appear for a conference before

 this Court on October 26, 2023 to discuss the issues raised in defendants’ letter. The conference

 will proceed as follows:

                      DATE:                      October 26, 2023
                      TIME:                      9:45 AM
                      LOCATION:                  Telephone conference will
                                                 proceed via AT&T conference
                                                 call.

                                                 Please dial 877-336-1839 at
                                                 9:45 AM.

                                                 Enter Access code: 380-1746
                                                 and security code: 22-3410


        Plaintiff is reminded that continued failure to comply with his discovery obligations may

 result in this Court recommending that his case be dismissed for failure to prosecute.

        SO ORDERED.

 Dated: Brooklyn, New York
        October 19, 2023

                                                 Cheryl L. Pollak
                                                 United States Magistrate Judge
                                                 Eastern District of New York




                                                  2
Case 1:22-cv-03410-AMD-CLP Document 31 Filed 10/19/23 Page 3 of 8 PageID #: 125




                             APPENDIX A
Case 1:22-cv-03410-AMD-CLP Document 31 Filed 10/19/23 Page 4 of 8 PageID #: 126




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------X
 BARRY FITZGERALD,

                                   Plaintiff,

                       -against-                                              ORDER
                                                                       22 CV 3410 (AMD) (CLP)
 SODEXO INC., et al.,

                                    Defendants.
 ----------------------------------------------------------X
 POLLAK, United States Magistrate Judge:

          On July 20, 2023, plaintiff, appearing pro se, and defendants’ counsel appeared for a

 status conference before Magistrate Judge Cheryl L. Pollak. Defendants are Ordered to re-serve

 their interrogatories on plaintiff. Plaintiff must respond to the interrogatories by August 31,

 2023. Failure to provide responses to defendants’ interrogatories could result in this Court

 making a recommendation to dismiss this matter for plaintiff’s failure to prosecute. After

 plaintiff responds, the parties should proceed with depositions.

          Defendants are also Ordered to re-send plaintiff a HIPAA authorization for BMCC

 records. Defendant should submit a status report by October 6, 2023, updating the Court on the

 status of discovery.

          A status conference is set as follows:

                        DATE:                          November 22, 2023
                        TIME:                          10:15 a.m.
                        LOCATION:                      Status Conference will proceed
                                                       via AT&T conference call.

                                                       Please dial 877-336-1839 at
                                                       10:15 a.m.

                                                       Enter Access code: 380-1746
                                                       and security code: 22-3410


                                                          1
Case 1:22-cv-03410-AMD-CLP Document 31 Filed 10/19/23 Page 5 of 8 PageID #: 127




        The Clerk is directed to send copies of this Order to the parties either electronically

 through the Electronic Case Filing (ECF) system or by mail. Enclosed with this Order is a flyer

 for the Federal Pro Se Legal Assistance Project. 1

        SO ORDERED.

 Dated: Brooklyn, New York
        July 26, 2023                             /s/ Cheryl L. Pollak
                                                  Cheryl L. Pollak
                                                  United States Magistrate Judge
                                                  Eastern District of New York




        1
          The clinic can also be contacted through their website:
 https://www.citybarjusticecenter.org/projects/federal-pro-se-legal-assistance-project/

                                                  2
Case 1:22-cv-03410-AMD-CLP Document 31 Filed 10/19/23 Page 6 of 8 PageID #: 128




                             APPENDIX B
Case 1:22-cv-03410-AMD-CLP Document 31 Filed 10/19/23     Page
                                              Jackson Lewis P.C. 7 of 8 PageID #: 129
                                                                        58 South Service Road, Suite 250
                                                                        Melville, NY 11747
                                                                        (631) 247-0404 Main
                                                                        (631) 247-0417 Fax
                                                                        jacksonlewis.com
 MY DIRECT DIAL IS: (631) 247-4666
 MY EMAIL ADDRESS IS: WILLIAM.KANG@JACKSONLEWIS.COM

                                                                 October 6, 2023
 VIA ECF
 Honorable Cheryl L. Pollak
 United States District Court, Eastern District of New York
 225 Cadman Plaza East
 Courtroom 13B - South
 Brooklyn, New York 11201

                                              Re:      Fitzgerald v. Sodexo Inc., et al.,
                                                       Case No.: 22-cv-3410 (AMD) (CLP)

 Dear Judge Pollak:

        We represent Defendants Sodexo Inc. (“Sodexo”) and NewYork-Presbyterian/Queens,
 incorrectly sued herein as “NY Presbyterian Queens,” (“NYPQ”) (collectively “Defendants”), in
 the above-referenced matter. Pursuant to the Court’s Order dated July 26, 2023 (“July 26 Order”),
 we respectfully submit this status report.

         As the Court is aware, Defendants were Ordered in the July 26 Order to re-serve their
 interrogatories on Plaintiff and Plaintiff was Ordered to respond to the interrogatories by August
 31, 2023. The July 26 Order states that “[f]ailure to provide responses to defendants’
 interrogatories could result in this Court making a recommendation to dismiss this matter for
 plaintiff’s failure to prosecute.” Defendants were also ordered to re-send Plaintiff a HIPAA
 authorization for BMCC records.

        Defendants have complied with the July 26 Order by re-serving their interrogatories and
 document requests via email and regular mail on July 26, 2023, which included copies of HIPAA
 authorizations for Community Counseling & Mediation (“CCM”) and Sunrise Medical Group –
 Maimonides Medical Center (“Sunrise”).1

         On August 25, 2023, the undersigned received documents in the mail from Plaintiff, but
 the documents did not contain Plaintiff’s responses to Defendants’ interrogatories. Instead,
 Plaintiff provided only a signed copy of the Verification page that was included with Defendants’
 interrogatories, without including any responses.


 1
   Plaintiff stated during the conference held with the Court on July 20, 2023, that he received mental health treatment
 from “BMCC” located at 535 Clinton Avenue, Brooklyn, New York. However, we were unable to find any mental
 healthcare provider with the name “BMCC” at that address. In an abundance of caution, we prepared HIPAA
 authorizations addressed to CCM and Sunrise, which were the only mental healthcare providers we were able to
 identify located at 535 Clinton Avenue. We confirmed with CCM over the telephone that Plaintiff has visited CCM
 as a patient.
Case 1:22-cv-03410-AMD-CLP Document 31 Filed 10/19/23 Page 8 of 8 PageID #: 130
                                                                                        Honorable Cheryl L. Pollak
                                                                                                  October 6, 2023
                                                                                                           Page 2

         The documents we received on August 25 also included Plaintiff’s signed authorizations
 for CCM and Sunrise, which we promptly sent to those healthcare providers with our requests for
 Plaintiff’s medical records. To date, we have not received Plaintiff’s medical or mental health
 records from CCM and we received a response from Sunrise stating that it had no records for
 Plaintiff.2

         Defendants sent a deficiency letter to Plaintiff on September 1, 2023, by email and regular
 mail, requesting Plaintiff’s responses to Defendants’ interrogatories and to most of the requests in
 Defendants’ First Request for Production of Documents. We have not received any response from
 Plaintiff.

        The July 26 Order states, “After plaintiff responds, the parties should proceed with
 depositions.” However, because Plaintiff has failed to provide responses to the interrogatories or
 to most of Defendants’ document requests, we are unable to proceed with scheduling Plaintiff’s
 deposition.

         We plan to address the deficiencies in Plaintiff’s discovery responses, including his failure
 to provide responses to Defendants’ interrogatories as he was Ordered to in the July 26 Order, at
 the status conference scheduled for November 22, 2023, unless the Court wishes for us to address
 them sooner.

            We thank the Court for its attention to this matter.

                                                                         Respectfully submitted,
                                                                         JACKSON LEWIS P.C.

                                                                         William Kang
                                                                         William Kang

 cc.: Barry Fitzgerald (via regular mail and email)


 4856-3319-7700, v. 2




 2
     We have followed up with CCM and were told that we would be receiving Plaintiff’s records shortly.
